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                                      13 Attorneys for Plaintiff United States Small Business

                                      14 Administration in its capacity as Receiver for Rocket
                                         Ventures II SBIC, L.P.
                                      15
                                                                      UNITED STATES DISTRICT COURT
                                      16
                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                      17
                                                                           SAN FRANCISCO DIVISION
                                      18 United States Small Business Administration in its
                                         capacity as Receiver for Rocket Ventures II SBIC, L.P., Case No.: 3:10-cv-04425 JSW
                                      19

                                      20                        Plaintiff,
                                                                                                NOTICE OF WITHDRAWAL
                                      21         vs.                                            OF MOTION FOR ENTRY
                                                                                                OF AN ORDER APPROVING
                                      22 Rocket Ventures II, L.P., a California limited         AND CONFIRMING THE
                                         partnership, et al.                                    FIFTH RECEIVER’S
                                      23
                                                                                                REPORT AND
                                      24                         Defendants.                    MEMORANDUM IN
                                                                                                SUPPORT THEREOF
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                                           NOTICE OF WITHDRAWAL OF MOTION FOR ORDER APPROVING AND CONFIRMING FIFTH
                                           REPORT....
                                                                                                                    PHDATA 4769325_1
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                                       1 TO: THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF RECORD

                                       2         PLEASE TAKE NOTICE that plaintiff United States Small Business Administration in
                                       3 its capacity as the duly appointed and acting Receiver for GKM SBIC, L.P. (“Plaintiff” or
                                       4 “Receiver”) hereby withdraws its “Motion for Entry of an Order Approving and Confirming the

                                       5 Fifth Receiver’s Report and Memorandum In Support Thereof,” erroneously filed in Case No.

                                       6 3:10-cv-04425 JSW on December 2, 2013, at Docket No. 170, as it has been correctly re-filed in
                                       7 Case No. 3:08-cv-02240-JSW on December 3, 2013, at Docket No. 73.

                                       8

                                       9 Dated: December 3, 2013                      SCHNADER HARRISON SEGAL & LEWIS LLP
                                      10                                              By: /s/ Melissa S. Lor
                                      11                                                      T. Scott Tate
SCHNADER HARRISON SEGAL & LEWIS LLP




                                                                                              Melissa S. Lor
 ONE MONTGOMERY STREET, SUITE 2200




                                                                                              Attorneys for Plaintiff, the United States
    SAN FRANCISCO, CA 94104-5501




                                      12
      TELEPHONE: 415-364-6700




                                                                                              Small Business Administration in its
                                      13                                                      capacity as Receiver for Rocket Ventures
                                                                                              II SBIC, L.P.
                                      14

                                      15 Dated: December 3, 2013                      U.S. SMALL BUSINESS ADMINISTRATION

                                      16                                              By: /s/ Arlene M. Embrey
                                                                                              Arlene M. Embrey
                                      17                                                      Office of General Counsel
                                                                                              Attorneys for Plaintiff,
                                      18                                                      United States Small Business
                                      19                                                      Administration in its capacity as Receiver
                                                                                              for Rocket Ventures II SBIC, L.P.
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                                           NOTICE OF WITHDRAWAL OF MOTION FOR ORDER APPROVING AND CONFIRMING FIFTH
                                           REPORT....
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                                                                              CERTIFICATE OF SERVICE
                                       1
                                                I, Wendy E. Reinig, declare under penalty of perjury under the laws of the State of
                                       2 California that the following is true and correct:

                                       3        I am employed in the City and County of San Francisco, State of California, in the office
                                         of a member of the bar of this court, at whose direction the service was made. I am a resident of
                                       4 the United States, over the age of eighteen (18) years, and not a party to or interested in the
                                         within-entitled cause. My business address is SCHNADER HARRISON SEGAL & LEWIS LLP, One
                                       5 Montgomery Street, Suite 2200, San Francisco, California 94104-5501.

                                       6          I caused to be served the following document(s):
                                       7
                                                 NOTICE OF WITHDRAWAL OF MOTION FOR ENTRY OF AN ORDER
                                       8          APPROVING AND CONFIRMING THE FIFTH RECEIVER’S REPORT AND
                                                  MEMORANDUM IN SUPPORT THEREOF
                                       9
                                                 I caused the above document to be served on each person on the Service List attached by
                                      10 the following means:

                                      11
SCHNADER HARRISON SEGAL & LEWIS LLP
 ONE MONTGOMERY STREET, SUITE 2200




                                            By United States mail. I enclosed a true and correct copy of said document in a sealed
    SAN FRANCISCO, CA 94104-5501




                                      12     envelope or package addressed to the persons listed on the attached Service List and
      TELEPHONE: 415-364-6700




                                             placed it for collection and mailing with the United States Postal Service on December 3,
                                      13     2013, following our ordinary business practice, to wit, on the same day that
                                             correspondence is placed for collection and mailing, it is deposited in the ordinary course
                                      14     of business with the United States Postal Service, in a sealed envelope with postage fully
                                             prepaid. SEE SERVICE LIST ATTACHED. (Indicated on the attached address list by
                                      15     an [M] next to the address.)
                                           
                                      16   By ECF: I caused a true and correct copy of the foregoing documents to be served on the
                                             parties listed below through the court’s ECF system. (Indicated on the attached address
                                      17     list by an [E] next to the address.)
                                      18        I am readily familiar with my firm’s practice for collection and processing of
                                         correspondence for delivery in the manner indicated above, to wit, that correspondence will be
                                      19 deposited for collection in the above-described manner this same day in the ordinary course of
                                         business.
                                      20 Executed on December 3, 2013, at San Francisco, California.

                                      21
                                      22                                                  /s/Wendy E. Reinig________
                                                                                             Wendy E. Reinig
                                      23                                         SERVICE LIST
                                           [E]   Rocket Ventures II, L.P., a California [E] Rocket Ventures II CEO Fund, L.P., a
                                      24         limited partnership                        California limited partnership
                                                 c/o Designated Agent Rocket Ventures       c/o Designated Agent Rocket Ventures II,
                                      25         II, L.P. and/or Rocket Management II,      L.P. and/or Rocket Management II, LLC
                                                 LLC                                        c/o Gordon C. Atkinson
                                      26         c/o Gordon C. Atkinson                     101 California Street
                                                 101 California Street                      5th Floor
                                      27         5th Floor                                  San Francisco, CA 94111-5800
                                                 San Francisco, CA 94111-5800
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                                                                                  2
                                           NOTICE OF WITHDRAWAL OF MOTION FOR ORDER APPROVING AND CONFIRMING FIFTH
                                           REPORT....
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                                           Case 4:10-cv-04425-JSW Document 171 Filed 12/03/13 Page 4 of 5




                                                 Rocket Ventures SBIC Partners,          [E] Tyna Development
                                      1 [E]      LLC, a Delaware limited liability           c/o Designated Agent Rocket Ventures II,
                                                 company                                     L.P. and/or Rocket Management II, LLC
                                      2          c/o Designated Agent Rocket Ventures        c/o Gordon C. Atkinson
                                                 II, L.P. and/or Rocket Management II,       101 California Street, 5th Floor
                                      3          LLC                                         San Francisco, CA 94111-5800
                                                 c/o Gordon C. Atkinson
                                      4          101 California Street
                                                 5th Floor
                                      5          San Francisco, CA 94111-5800
                                      6 [E]      Alistair Anderson Donald                [E] Christopher Stainton
                                                 c/o Designated Agent Rocket Ventures        c/o Designated Agent Rocket Ventures II,
                                      7          II, L.P. and/or Rocket Management II,       L.P. and/or Rocket Management II, LLC
                                                 LLC                                         c/o Gordon C. Atkinson
                                      8          c/o Gordon C. Atkinson                      101 California Street, 5th Floor
                                                 101 California Street, 5th Floor            San Francisco, CA 94111-5800
                                      9          San Francisco, CA 94111-5800
                                           [E]   Alberto Gandini                         [E] Fred Cucchi
                                      10         c/o Designated Agent Rocket Ventures        c/o Designated Agent Rocket Ventures II,
                                                 II, L.P. and/or Rocket Management II,       L.P. and/or Rocket Management II, LLC
                                      11         LLC                                         c/o Gordon C. Atkinson
SCHNADER HARRISON SEGAL & LEWIS LLP
 ONE MONTGOMERY STREET, SUITE 2200




                                                 c/o Gordon C. Atkinson                      101 California Street
    SAN FRANCISCO, CA 94104-5501




                                      12         101 California Street                       5th Floor
      TELEPHONE: 415-364-6700




                                                 5th Floor                                   San Francisco, CA 94111-5800
                                      13         San Francisco, CA 94111-5800
                                                                                              c/o Neal L. Wolf
                                      14         c/o Neal L. Wolf                             Neal Wolf & Associates, LLC
                                                 Neal Wolf & Associates, LLC                  101 California Street, Suite 2710
                                      15         101 California Street, Suite 2710            San Francisco, CA 94111
                                                 San Francisco, CA 94111                      Fax: 312-228-4988
                                      16         Fax: 312-228-4988                            Email: nwolf@nealwolflaw.com
                                                 Email: nwolf@nealwolflaw.com
                                      17
                                           [E]   Hahei Limited                           [E] Luca Casiraghi
                                      18         c/o Designated Agent Rocket Ventures        c/o Designated Agent Rocket Ventures II,
                                                 II, L.P. and/or Rocket Management II,       L.P. and/or Rocket Management II, LLC
                                      19         LLC                                         c/o Gordon C. Atkinson
                                                 c/o Gordon C. Atkinson                      101 California Street
                                      20         101 California Street,                      5th Floor
                                                 5th Floor                                   San Francisco, CA 94111-5800
                                      21         San Francisco, CA 94111-5800
                                      22 [E]     David Mather                            [E] Rijete Pty. Ltd.
                                                 c/o Designated Agent Rocket Ventures        c/o Designated Agent Rocket Ventures II,
                                      23         II, L.P. and/or Rocket Management II,       L.P. and/or Rocket Management II, LLC
                                                 LLC                                         c/o Gordon C. Atkinson
                                      24         c/o Gordon C. Atkinson                      101 California Street, 5th Floor
                                                 101 California Street                       San Francisco, CA 94111-5800
                                      25         5th Floor
                                                 San Francisco, CA 94111-5800
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                                           REPORT....
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                                                ValorLife                               [E] Michel Roujansky
                                      1 [E]     c/o Designated Agent Rocket Ventures        c/o Neal L. Wolf
                                                II, L.P. and/or Rocket Management II,       Neal Wolf & Associates, LLC
                                      2         LLC                                         101 California Street, Suite 2710
                                                c/o Gordon C. Atkinson                      San Francisco, CA 94111
                                      3         101 California Street                       Fax: 312-228-4988
                                                5th Floor                                   Email: nwolf@nealwolflaw.com
                                      4         San Francisco, CA 94111-5800
                                      5         c/o Neal L. Wolf
                                                Neal Wolf & Associates, LLC
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                                                San Francisco, CA 94111
                                      7         Fax: 312-228-4988
                                                Email: nwolf@nealwolflaw.com
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    SAN FRANCISCO, CA 94104-5501




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      TELEPHONE: 415-364-6700




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